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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 BLANCA CASTILLO DE MARTINEZ,
 et al., individually and on behalf of all
 others similarly situated,

                Plaintiffs,
                                                         Civil Action No. 23 - 2339 (LLA)
        v.

 TIER-ONE PROPERTY SERVICES, LLC,
 et al.,

                Defendants.



                         MEMORANDUM OPINION AND ORDER

       After many months of litigation and mediation, the parties in this putative class action suit

have reached a potential settlement. Under the terms of the agreement, Defendants will pay $250,000

to resolve the pending wage-and-hour claims brought by a putative class of eighty-seven of its

current and former employees. Both parties now jointly move to provisionally certify the putative

class and preliminarily approve the Settlement Agreement. ECF No. 27. For the reasons explained

below, the court grants the motion.


                               I.     FACTUAL BACKGROUND

       The court recounts the facts as alleged in the complaint. ECF No. 1. Blanca Castillo De

Martinez, Vilma Somoza De Cienfuegos, Richard Cienfuegos, and Armida Garcia, and all proposed

class members (collectively, “Plaintiffs”), are current and former employees of Tier-One Property

Services, LLC (“Tier-One”), a “facility services provider of commercial janitorial, building

maintenance[,] and specialty property services with the capacity of serving customers throughout

the United States.” ECF No. 1 ¶¶ 18, 44-47. James Harold Hatchett III is Tier-One’s President
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and CEO, and Claudia Eguez-Buchanan is its Vice President of Operations. Id. ¶¶ 25, 30. Both

play key roles in determining how Tier-One compensates its employees. Id. ¶¶ 27, 32.

       Tier-One, Mr. Hatchett, and Ms. EguezBuchanan- (collectively, “Defendants”) contract

with federal and local agencies in the District of Columbia to provide general cleaning and

maintenance services for government buildings. Id. ¶ 49. As relevant here, Defendants entered at

least two contracts relating to the upkeep of the Federal Reserve Buildings (the “Cleaning Contract”

and the “Maintenance Contract”), plus an unknown number of additional contracts related to other

government buildings (“Unknown Contracts”). Id. ¶¶ 50-52. These contracts are subject to federal

and local wage laws, including the Service Contract Act (“SCA”), 40 U.S.C. § 6701 et seq., the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., the D.C. Minimum Wage Act

(“DCMWA”), D.C. Code § 32-1001, et seq., and the D.C. Wage Payment and Collection Law

(“DCWPCL”), D.C. Code § 32-1301, et seq. ECF No. 1 ¶¶ 49-52.

       Plaintiffs’ claims can be divided into two buckets. First, Plaintiffs allege that Defendants

promised to pay the employees who performed work for governmental entities—the members of

the putative class—as “public workers,” which entitled them to certain wages and fringe benefits

(or, as relevant here, cash payments in lieu of fringe benefits) under the SCA. Id. ¶ 55-57; see 41

U.S.C. § 6703. Despite knowing that the putative class members were entitled to certain wages and

cash payments in lieu of benefits under the SCA, Defendants paid them below the required amounts,

which violated the DCWPCL. ECF No. 1 ¶¶ 61-64. Second, Plaintiffs allege that Defendants failed

to include these “in lieu” payments when calculating the putative class members’ rate for overtime

payments, which violated the FLSA, the DCMWA, and the DCWPCL. Id. ¶¶ 67-76.




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                              II.     PROCEDURAL HISTORY

       In August 2023, Plaintiffs filed a collective and class action complaint against Tier-One,

Mr. Hatchett, and Ms. Eguez-Buchanan, alleging violations under the FLSA, the DCMWA, and the

DCWPCL. ECF No. 1. After Defendants filed an answer in October 2023, ECF No. 7, the parties

moved to toll all deadlines while they negotiated a potential settlement, ECF No. 18. The court

granted the motion in December 2023. ECF No. 20. Shortly thereafter, this case was reassigned to

the undersigned. See Docket, Castillo De Martinez v. Tier-One Prop. Servs., LLC, No. 23-CV-2339

(D.D.C. Dec. 15, 2023).

       The parties continued to negotiate and exchange informal discovery into 2024. See ECF

Nos. 21 to 25. Plaintiffs ultimately identified eighty-seven employees that were allegedly underpaid

a cumulative $43,874.22 in regular and overtime wages. ECF No. 27-1, at 3-4. In July 2024, the

parties filed this joint motion to certify a class and for preliminary approval of their Settlement

Agreement. ECF No. 27. While the motion was pending, the parties moved for a telephone

conference to discuss the motion, ECF No. 28, which the court denied, Dec. 9, 2025 Minute Order.


                     III.   PROPOSED SETTLEMENT AGREEMENT

                                     A.      Class Definition

       The parties’ proposed Settlement Agreement defines the relevant class as:

               [A]ll Tier-One employees performing “Public Work” in the District
               of Columbia who performed more than forty hours of work in a
               workweek and/or were paid below the rate promised and owed
               pursuant to District of Columbia law during the “Class Period.”

ECF No. 27-2 ¶ 8; see ECF No. 27-1, at 9-10. Under the agreement, “Public Work” is defined as

“service work performed for the benefit of governmental entities pursuant to a contract that

requires the employer to promise to and be obligated to pay its service employees a certain amount




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       Net Settlement Fund. Each class member’s individual payment will be calculated on a case-

by-case basis, depending on the wages owed. ECF No 27-2 ¶ 30(b). Based on available information

and employment records, Plaintiffs calculated that all eighty-seven class members (including the

named Plaintiffs) would have been owed $43,874.22 if they were to prevail. ECF No. 27-1, at 10.

Therefore, each non-named Plaintiff will receive roughly 2.1 times their potential unpaid wages.

ECF No. 27-2 ¶ 30(c).

       The individual payments were calculated through two primary steps. First, to ascertain the

shortfall in regular wages, Plaintiffs’ counsel determined the amounts that would have been paid

if Defendants had complied with the SCA. Id. ¶ 30(b). The difference between that value and the

actual rates paid to each member produced each member’s damages. Id. Second, through arms-

length investigation and negotiation, the parties determined the amount of overtime hours worked

by each class member. Id. Plaintiffs’ counsel then included the members’ hourly benefit rate into

the “regular rate” used to calculate overtime pay. Id. The difference between the actual overtime

compensation and the overtime compensation owed (with the benefit rates factored in) produced

each member’s damages. Id.


                           C.      Settlement Claims Administrator

       Plaintiffs’ counsel will retain ILYM Group, Inc. as the Settlement Administrator. Id. ¶ 28.

It will be responsible for, among other things, disseminating the notice form to all class members,

informing the parties of material communications by class members, managing any requests for

exclusion from class members, distributing settlement checks, attempting to contact any

unresponsive class members, and providing a final report on class participation. Id.




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                       D.      Reversion of Uncashed Settlement Checks

       Within ten days of receiving each class member’s settlement share, the Settlement

Administrator will deliver two checks totaling the amount of that share to the class member. Id. ¶ 49.

If a member does not cash his or her checks within sixty days of the mailed check’s post-date, the

Settlement Administrator shall attempt to contact the member by telephone, text, and mail. Id. ¶ 50.

The Settlement Administrator shall also conduct a skip trace to ensure that the member’s contact

information is accurate. Id. If it is determined that the member’s checks were not delivered,

Defendants shall coordinate with the Settlement Administrator to deliver new checks and will

cover the costs of doing so. Id. If, despite these efforts, any class members do not cash their checks

within 120 days after the post-date of the original mailed checks, Defendants will void those checks.

Id. ¶ 51. If, after an additional 120 days, the checks are still not cashed, the class member will be

deemed to have waived his or her right to the settlement share, and the funds will revert back to

Defendants. Id.


                                          E.      Release

       All Plaintiffs who do not request to be excluded from the settlement within sixty days will

agree to release Defendants from all known or unknown claims “relating in any way to the failure

to properly compute wages during the Class Period” or that “reasonably arise out of the acts alleged

in the Lawsuit.” Id. ¶ 32.


                                  IV.     LEGAL STANDARDS

       A district court’s review of a proposed class action settlement agreement proceeds in three

primary steps. Ross v. Lockheed Martin Corp., 267 F. Supp. 3d 174, 189 (D.D.C. 2017). “First, the

parties present a proposed settlement agreement to the court for so-called ‘preliminary approval.’”

Id. at 190 (quoting William B. Rubenstein, Newberg on Class Actions § 13:10 (5th ed. 2014)).


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“Second, if the court does preliminarily approve the settlement (and conditionally certify the class),

notice is sent to the class describing the terms of the proposed settlement and explaining class

members’ options with respect to the settlement agreement, including the right to object to the

proposed settlement.” Id. (internal quotation marks omitted) (quoting Rubenstein, Newberg on

Class Actions § 13:10). Third, the court holds a hearing and may give final approval to the

agreement only upon a “finding that it is fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2);

see Ross, 267 F. Supp. 3d at 190. The court may also certify the class during this last stage, if it

has yet to do so. See Ross, 267 F. Supp. 3d at 190.

       Whether to preliminarily approve a class action settlement agreement is within the district

court’s sound discretion. Richardson v. L’Oreal USA, Inc., 951 F. Supp. 2d 104, 106 (D.D.C. 2013).

The court must ensure that the “settlement is fair, adequate, and reasonable,” and that it “is not the

product of collusion between the parties.” Thomas v. Albright, 139 F.3d 227, 231 (D.C. Cir. 1998)

(quoting Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)). Where, like here, parties seek

class certification and settlement approval simultaneously, the court must exercise “closer judicial

scrutiny” than for settlements reached after class certification. Trombley v. Nat’l City Bank, 759

F. Supp. 2d 20, 23 (D.D.C. 2011) (quoting Manual for Complex Litigation, § 21.612 (4th ed. 2004));

see Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997) (“Such attention is of vital importance,

for a court asked to certify a settlement class will lack the opportunity, present when a case is

litigated, to adjust the class, informed by the proceedings as they unfold.”). Generally speaking,

courts will “grant preliminary approval of a class action settlement if it appears to fall ‘within the

range of possible approval’ and ‘does not disclose grounds to doubt its fairness or other obvious

deficiencies.’” Richardson, 951 F. Supp. 2d at 106 (quoting Trombley, 759 F. Supp. 2d at 23).




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                                         V.       DISCUSSION

                              A.        Provisional Class Certification

        To be certified as a class, Plaintiffs must meet the requirements of Rule 23(a) and fall into

one of the Rule 23(b) categories. Amchem Prods., 521 U.S. at 614. Here, Plaintiffs seek the

provisional certification of the following class:

                [A]ll Tier-One employees performing “Public Work” in the District
                of Columbia who performed more than forty hours of work in a
                workweek and/or were paid below the rate promised and owed
                pursuant to District of Columbia law during the “Class Period.”

ECF No. 27-2 ¶ 8; see ECF No. 27-1, at 9-10. Defendants do not contest class certification, but

the court must still ensure, “after a rigorous analysis, that the prerequisites of Rule 23(a) have been

satisfied.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011) (quoting Gen. Tel. Co. of

the Sw. v. Falcon, 457 U.S. 147, 161 (1982)).


                                   1.         Rule 23(a) requirements

        Rule 23(a) requires a showing that “(1) the class is so numerous that joinder of all members

is impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

of the [named plaintiffs] are typical of [those] of the class; and (4) the [named plaintiffs] will fairly

and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a). These requirements are

referred to as numerosity, commonality, typicality, and adequacy. Amchem Prods., 521 U.S. at 613.


                                          a.       Numerosity

        There are no “absolute limitations” on the numerosity requirement. Harris v. Med. Transp.

Mgmt., Inc., 77 F.4th 746, 759 (D.C. Cir. 2023) (quoting Gen. Tel. Co. of the Nw. v. Equal Emp.

Opportunity Comm’n, 446 U.S. 318, 330 (1980)). The core inquiry focuses on the impracticability

of joinder, but sheer numbers often serve as a proxy for that inquiry. See Hinton v. District of




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Columbia, 567 F. Supp. 3d 30, 52 (D.D.C. 2021). This court has presumed sufficient numerosity

“when a proposed class has at least forty members.”1 See., e.g., Bunn ex rel. Coleman v. District

of Columbia, 306 F.R.D. 68, 76 (D.D.C. 2015) (quoting Richardson v. L’Oreal USA, Inc., 991

F. Supp. 2d 181, 196 (D.D.C. 2013)). Plaintiffs “must provide some evidentiary basis beyond a

bare allegation of the existence of numerous class members,” but the court may “draw reasonable

inferences from the facts presented to find the requisite numerosity.” Id. (quoting McCuin v. Sec’y

of Health & Hum. Servs., 817 F.2d 161, 167 (1st Cir. 1987)).

       In this case, the four named Plaintiffs seek to represent eighty-three putative class members,

for a total of eighty-seven individuals. ECF No. 27-1, at 17; see ECF No. 27-3. In support, Plaintiffs

provide a detailed chart of all employees who were allegedly underpaid pursuant to the relevant

contracts. See ECF No. 27-3. The proposed class therefore satisfies the numerosity requirement.


                                       b.      Commonality

       In the simplest terms, commonality “requires the plaintiff to demonstrate that the class

members have suffered the same injury.” Wal-Mart Stores, 564 U.S. at 349-50 (internal quotation

marks omitted) (quoting Falcon, 457 U.S. at 157). While the existence of “a uniform policy or

practice” affecting all class members is generally sufficient to meet commonality, Thorpe v.

District of Columbia, 303 F.R.D. 120, 145 (D.D.C. 2014) (quoting D.L. v. District of Columbia,

302 F.R.D. 1, 12 (D.D.C. 2013)), it is not necessary, Harris, 77 F.4th at 759. Rather, the putative

class must rely on a “common contention of such a nature that it is capable of classwide resolution.”

Harris, 77 F.4th at 759 (internal quotation marks omitted) (quoting Wal-Mart Stores, 564 U.S. at




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  At the other end of the spectrum, “a class that encompasses fewer than [twenty] members will
likely not be certified absent other indications of impracticability of joinder.” Bunn ex rel.
Coleman, 306 F.R.D. at 76 (quoting Rubenstein, Newberg on Class Actions § 3:11).


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350). Put differently, what matters is not necessarily “the raising of common ‘questions,’” but

rather “the capacity of a class-wide proceeding to generate common answers” that will help resolve

the litigation. Wal-Mart Stores, 564 U.S. at 350 (quoting Richard A. Nagareda, Class Certification

in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 131-32 (2009)).

       In this case, all eighty-seven class members were Tier-One employees “subject to the same

compensation requirements” arising out of the same contracts. ECF No. 27-1, at 17. The core legal

question is whether Defendants improperly calculated the pay rates for regular and overtime

compensation for its janitorial and maintenance employees performing public work under the SCA.

Accordingly, the putative class members’ injuries share a common thread that satisfies commonality.


                                         c.      Typicality

       While related to commonality, typicality asks whether the named plaintiff’s claims are

sufficiently related to the those of the entire class. See Gen. Tel. Co. of the Nw., 446 U.S. at 330.

This requirement is satisfied “if the claims or defenses of the representatives and the members of

the class stem from a single event or a unitary course of conduct, or if they are based on the same

legal or remedial theory.” J.D. v. Azar, 925 F.3d 1291, 1322 (D.C. Cir. 2019) (per curiam) (quoting

7A Charles Alan Wright, et al., Federal Practice & Procedure § 1764 (4th ed. 2019)). Both

methods establish typicality here, as all Plaintiffs allegedly suffered compensation injuries in the

same way: through Defendant’s failure to pay proper wages and accurately calculate what was

owed under the relevant employment contracts.


                                         d.      Adequacy

       Finally, whether the named plaintiffs will adequately represent the interests of the class

depends on two criteria: (1) “the named representative must not have antagonistic or conflicting

interests with the unnamed members of the class”; and (2) “the representative must appear able to


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vigorously prosecute the interests of the class through qualified counsel.” Nat’l Ass’n of Reg’l

Med. Programs, Inc. v. Mathews, 551 F.2d 340, 345 (D.C. Cir. 1976). Rule 23(g)(1)(A) requires

the court to consider: “(i) the work counsel has done in identifying or investigating potential claims

in the action; (ii) counsel’s experience in handling class actions, other complex litigation, and the

types of claims asserted in the action; (iii) counsel’s knowledge of the applicable law; and (iv) the

resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A).

       Here, the named Plaintiffs share the same interests and goals as the putative class: they all

want to recover unpaid wages pursuant to the public work contracts. Furthermore, they have

retained Michael K. Amster, Esq. and Thomas J. Eiler, Esq. of the law firm of Zipin, Amster &

Greenberg, LLC—a firm with extensive experience litigating wage-and-hour legal claims. See

ECF No. 27-1, at 20. Both the named Plaintiffs and their attorneys have spent considerable time

investigating and developing the claims in this lawsuit. Id. The court is confident that they have,

and will continue to, adequately represent the interests of the class as a whole.


                                    2.      Rule 23(b) category

       In addition to meeting the four Rule 23(a) requirements, class action plaintiffs must also

demonstrate that they fall into one of the three Rule 23(b) categories. Fed. R. Civ. P. 23(b). Here,

Plaintiffs seek certification under Rule 23(b)(3), usually referred to as the “predominance and

superiority” category, which requires that “questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

R. Civ. P. 23(b)(3).




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                                      a.      Predominance

        The predominance inquiry asks “whether proposed classes are sufficiently cohesive to

warrant adjudication by representation.” Amchem Prods., 521 U.S. at 623. The court must ensure

that “common, aggregation-enabling[] issues in the case are more prevalent or important than the

non-common, aggregation-defeating, individual issues.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.

442, 453 (2016) (quoting Rubenstein, Newberg on Class Actions § 4:49). Individual questions

require evidence that varies from member to member, whereas common questions may be answered

by “generalized evidence [that] proves or disproves an element on a simultaneous, class-wide

basis.” In re Vitamins Antitrust Litig., 209 F.R.D. 251, 262 (D.D.C. 2002) (quoting In re Potash

Antitrust Litig., 159 F.R.D. 682, 693 (D. Minn. 1995)).

        In this case, the central question of whether Defendants failed to properly calculate and

compensate Plaintiffs’ wages—both regular and overtime—in violation of the DCMWA, the

DCWPCL, and the FLSA will likely be provable through common evidence. While the amounts

of compensation owed may vary from member to member, that does not defeat predominance.

The individual amounts take a back seat to the main issue: whether Defendants violated wage laws

as applied to these Plaintiffs. Indeed, numerous judges of this court have found predominance to

be satisfied in similar claims. See, e.g., Alvarez v. Keystone Plus Constr. Corp., 303 F.R.D. 152,

162 (D.D.C. 2014) (finding predominance in FLSA and DCMWA claim where the plaintiffs alleged

that the defendant had a “generalized practice of failing to pay its employees the overtime to which

they were entitled”); Stephens v. Farmers Rest. Grp., 329 F.R.D. 476, 485-86 (D.D.C. 2019)

(similar).




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                                        b.      Superiority

        Superiority focuses on whether “class adjudication makes the litigation more manageable

and promotes the prompt and efficient resolution of the case.” Harris, 77 F.4th at 763. Ideally, a

class action will “achieve economies of time, effort, and expense” while “promot[ing] . . .

uniformity of decision as to persons similarly situated.” Stephens, 329 F.R.D. at 486 (quoting

Cohen v. Chilcott, 522 F. Supp. 2d 105, 117 (D.D.C. 2007)). Factors the court may consider in

this assessment are: “(A) the class members’ interests in individually controlling the prosecution

or defense of separate actions; (B) the extent and nature of any litigation concerning the

controversy already begun by or against class members; [and] (C) the desirability or undesirability

of concentrating the litigation of the claims in the particular forum.” Fed. R. Civ. P. 23(b)(3);

Amchem Prods., 521 U.S. at 620 (explaining that, while Rule 23(b)(3) features a fourth factor,

courts need not consider subsection (D) when “[c]onfronted with a request for settlement-only

class certification”).

        If each of the putative class members were to bring their own lawsuits in this case, it would

significantly tax the court’s resources with little to no marginal benefit. As discussed above, the

legal and factual questions here are common to all members. Furthermore, the relatively small

financial injuries sustained by each putative member (when compared to the total damages

sustained by the class) would likely make individual lawsuits cost-prohibitive for Plaintiffs.

Additionally, the named Plaintiffs are unaware of any already existing lawsuits by putative class

members. ECF No. 27-1, at 23. Finally, concentrating the litigation in this district is preferable

given that Plaintiffs’ alleged injuries arise from work they performed in the District of Columbia

under District of Columbia law.

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       For these reasons, the court concludes that Plaintiffs meet the numerosity, commonality,

typicality, and adequacy requirements of Rule 23(a). Plaintiffs also satisfy the predominance and

superiority conditions in Rule 23(b)(3). The court thus provisionally certifies the putative class.


                            B.        Preliminary Settlement Approval

       “[T]here is a long-standing judicial attitude favoring class action settlements.” Cohen, 522

F. Supp. 2d at 114. Approval of a proposed class-action settlement is governed by Rule 23(e), which

requires a finding that the agreement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).

The “D.C. Circuit has not announced a specific test” for preliminary approval, but courts in this

jurisdiction usually consider five factors: “(1) whether the settlement is the result of arm’s-length

negotiations; (2) the terms of the settlement in relation to the strengths of [the] plaintiffs’ case;

(3) the status of the litigation proceedings at the time of settlement; (4) the reaction of the class;

and (5) the opinion of experienced counsel.” Stephens, 329 F.R.D. at 486 (alteration in original)

(quoting Alvarez, 303 F.R.D. at 163).


                                 1.       Arm’s length negotiations

       There is a “presumption of fairness, adequacy, and reasonableness” for class-action

settlements reached through “arm’s length negotiations between experienced, capable counsel

after meaningful discovery.” In re Vitamins, 305 F. Supp. 2d at 104 (quoting Manual for Complex

Litigation (Third) § 30.42 (1995)).

       Plaintiffs represent that class counsel engaged in roughly five months of informal

discovery, exchanged frequent communications, and retained a mediator to facilitate settlement

talks. ECF No. 27-1, at 24; ECF No. 27-4 ¶¶ 18-22. Both parties agree that the agreement was

the result of arm’s length negotiations. ECF No. 27-1, at 25. And class counsel submitted a

declaration under penalty of perjury attesting to the same. ECF No. 27-4 ¶¶ 19, 36.


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             2.    Terms of the settlement in relation to the strength of Plaintiffs’ case

       While the named Plaintiffs are confident about the legal and factual bases of their claims,

they recognize that all litigation poses risks. ECF No. 27-1, at 25. Proceeding to a full trial could

also result in an appeal, further increasing costs and delaying a potential resolution. See Cohen,

522 F. Supp. 2d at 118 (“Even if Plaintiffs had prevailed over these obstacles at trial, it is likely

that any verdict would have been followed by an appeal, which might have further delayed the

final resolution of this case.”). By reaching a settlement agreement, the parties can largely

eliminate litigation risk and efficiently resolve their bona fide disputes, see ECF No. 27-1, at 25-26

(explaining that the parties would be forced to litigate genuine disagreements about the application

of federal regulations and various factual defenses), without expending more time, energy, or

resources.


                                    a.        Net Settlement Fund

       Plaintiffs calculated the class’s potential lost wages to be $43,874.22. ECF No. 27-1, at 10.

Pursuant to the agreement’s terms, the class will receive a total payout of $93,000, excluding

service awards and attorney’s fees. ECF No. 27-2 ¶ 31; see ECF No. 27-3. That is more than

double the potential damages owed. And each member will receive approximately 212% of their

potential unpaid wages. See ECF No. 27-3.


                                         b.     Service Awards

       Each of the four named Plaintiffs will receive a $5,000 service payment for their role in

the litigation, or about 8% of the Gross Settlement Fund. ECF No. 27-2 ¶ 31(b). Such awards are

common in class-action lawsuits to compensate named plaintiffs for coming forward with their

claims and subjecting themselves to various financial and reputational risks. See In re Lorazepam

& Clorazepate Antitrust Litig., 205 F.R.D. 369, 400 (D.D.C. 2002). Courts consider various factors


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when assessing the reasonableness of a service award, including the plaintiff’s efforts to protect

the interests of the class, the degree to which the class benefitted from those efforts, and the time

and energy the plaintiff expended in doing so. See Little v. Wash. Metro. Area Transit Auth., 313

F. Supp. 3d 27, 39 (D.D.C. 2018).

       Plaintiffs cite several cases where the court approved a $5,000 or more service award for

each named plaintiff. See ECF No. 27-1, at 12-13. Most of those cases involved total settlement

amounts far greater than the one in this case. See Trombley v. Nat’l City Bank, 826 F. Supp. 2d

179 (D.D.C. 2011) (holding as reasonable a $15,000 service award out of a total settlement amount

of $12 million, or roughly 0.125%, in an Electronic Funds Transfer Act case); Little, 313 F. Supp.

3d at 39 (holding as reasonable a $75,000 service award out of a total settlement amount of

$6.5 million, or roughly 1.2%, in a Title VII case); see also Wells v. Allstate Ins. Co., 557 F. Supp.

2d 1, 8-9 (D.D.C. 2008) (holding as reasonable a $20,000 service award out of a total settlement

amount of $1.54 million, or roughly 1.3%, in an insurance case); Meyer v. Panera Bread Co.,

No. 2019 WL 11271381, at *11 (D.D.C. Mar. 6, 2019) (holding as reasonable a $45,000 service

award out of a total settlement amount of $1.99 million, or roughly 2.3%, in an FLSA and

DCMWA case).2 But that does not automatically make Plaintiffs’ request unreasonable. Indeed,

other cases support Plaintiffs’ request. See Kinard v. E. Capitol Family Rental, L.P., 331 F.R.D.




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  Cases outside of this jurisdiction reflect a similar trend. See Morris v. Affinity Health Plan, Inc.,
859 F. Supp. 2d 611, 624 (S.D.N.Y. 2012) (holding as reasonable a $7,500 service award out of a
total settlement amount of $2.5 million, or roughly 0.3%, in an FLSA case); Beckman v. KeyBank,
N.A., 293 F.R.D. 467, 483 (S.D.N.Y. 2013) (holding as reasonable a $80,000 service award out of
a total settlement amount of $4.85 million, or roughly 1.7%, in an FLSA case); Chavarria v. N.Y.
Airport Serv., LLC, 875 F. Supp. 2d 164, 177 (E.D.N.Y. 2012) (holding as reasonable a $5,000
service award out of a total settlement amount of $135,750, or roughly 3.7%, in an FLSA case);
Pliego v. Los Arcos Mexican Rests., Inc., 313 F.R.D. 117, 131 (D. Colo. 2016) (holding as reasonable
a $7,500 service award out of a total settlement amount of $178,928.84, or roughly 4.2%, in an FLSA
case).


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206, 217 (D.D.C. 2019) (holding as reasonable a $20,000 service award out of a total settlement

amount of $100,000, or 20%, in a Housing Act case).

       The proportional size of the service award is not one of the routine factors used to assess

its reasonableness. The purpose of the service award is to compensate the named plaintiffs “for

the services they provided and the risks they incurred during the course of the class action

litigation.” Radosti v. Envision EMI, LLC, 760 F. Supp. 2d 73, 79 (D.D.C. 2011). The amount of

time and energy they spend is not necessarily commensurate with the size of the class or the gross

settlement fund. Whether the total payout is ten, twenty, or a hundred times the service award may

not change the aggregate effort invested by the lead plaintiffs. The four named Plaintiffs in this

action “committed hours of time reviewing their own retained documents, being interviewed by

counsel, attending in-person mediation, and taking time off work” to help resolve the case. ECF

No. 27-1, at 12. While there is no direct evidence that these named Plaintiffs faced retribution or

reputational harms here, the court recognizes that leading a class-action suit always poses “unique

risks.” Nat’l Veterans Legal Servs. Program v. United States, 724 F. Supp. 3d 1, 23 (D.D.C. 2024)

(quoting Mercier v. United States, 156 Fed. Cl. 580, 589 (Fed. Cl. 2021)), appeal docketed,

No. 24-1757 (D.C. Cir. 2024). The court thus preliminarily approves the service awards in the

Settlement Agreement.


                                        c.      Fee Award

       Class counsel seeks $137,000 as its fee award. ECF No. 27-2 ¶ 31. Attorneys’ fee awards

“must be reasonable in light of the results obtained.” In re LivingSocial Mktg. & Sales Prac. Litig.,

298 F.R.D. 1, 15 (D.D.C. 2013) (quoting In re Dep’t of Veterans Affs. Data Theft Litig., 653 F.

Supp. 2d 58, 60 (D.D.C. 2009)). While the D.C. Circuit instructs courts to use a percentage-of-

the-fund method to calculate attorneys’ fee awards in most common fund cases, Swedish Hosp. v.



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Shalala, 1 F.3d 1261, 1271 (D.C. Cir. 1993), the procedure differs in FLSA, DCMWA, and

DCWPCL cases, see Driscoll v. George Wash. Univ., 55 F. Supp. 3d 106, 113 (D.D.C. 2014).3

These three statutes “all require that a prevailing plaintiff receive an attorneys’ fee award.”

Herrera v. Mitch O’Hara LLC, 257 F. Supp. 3d 37, 46 (D.D.C. 2017). The court assesses the

award’s reasonableness by multiplying the number of hours expended by an hourly rate. Id. As

mentioned above, District of Columbia law computes the hourly rate pursuant to the Laffey Matrix,

updated for the current market. D.C. Code § 32-1308(b)(1). The inflation-adjusted version is

commonly referred to as the LSI Laffey Matrix. See Eley v. District of Columbia, 793 F.3d 97,

101-02 (D.C. Cir. 2015).

       Because matrices are inherently limited, fee applicants must ordinarily “produce

satisfactory evidence—in addition to the attorney’s own affidavits—that the requested rates are in

line with those prevailing in the community for similar services by lawyers of reasonably

comparable skill, experience and reputation.” Id. at 100. (quoting Blum v. Stenson, 465 U.S. 886,

895 n.11 (1984)). Here, however, the parties do not dispute the applicability of the LSI Laffey

Matrix and agree that it accurately represents the standard compensation for wage-and-hour

litigation. ECF No. 27-1, at 14-15. There is also no evidence suggesting that the matrix is inaccurate

as applied to wage-and-hour litigation. Plaintiffs state that class counsel has spent more than 265

hours working on this case, “investigati[ng], research[ing], drafting pleadings, [engaging in] five

(5) months of settlement discussions and correspondence, [participating in] formal in-person




3
  The D.C. Circuit “has not specifically addressed the application of the percent-of-fund method
to [the] calculation of fee awards in FLSA cases.” Driscoll, 55 F. Supp. 3d at 113 (alteration in
original) (internal quotation marks and quoted source omitted). But using the percentage-of-the-
fund method in such a case “would undercut the very purpose of the mandatory fee-shifting
statute” because a fee-shifting statute guarantees attorneys’ fees irrespective of the plaintiff’s
recovery. Id. (citing Swedish Hosp. Corp., 1 F.3d at 1268).


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mediation, and drafting settlement documentation.” ECF No. 27-4 ¶¶ 25. Pursuant to the LSI

Laffey Matrix, class counsel would be able to charge more than $155,000 in fees for this work

before accounting for costs and compensation paid to the Settlement Administrator. ECF No. 27-1,

at 14-15. That amount also does not account for additional work that will be needed to finalize the

Settlement Agreement. Id. at 15. At this preliminary stage, the court concludes that the proposed

fee award—which discounts class counsel’s conservative estimate by $18,000—is reasonable.


                         3.        Litigation status at the time of settlement

       Under this factor, courts ask “whether counsel had sufficient information, through adequate

discovery, to reasonably assess the risks of litigation vis-à-vis the probability of success and range

of recovery.” Kinard, 331 F.R.D. at 216 (quoting Meijer, Inc. v. Warner Chilcott Holdings Co. III,

565 F. Supp. 2d 49, 57 (D.D.C. 2008)). Both parties agree that they had the requisite evidence and

documentation to conclude that a settlement was in their best interests. ECF No. 27-1, at 27.


                                     4.      Reaction of the class

       Because notice has not yet been sent to the class, the court will evaluate its reaction later

in the proceedings, but before final approval. The named Plaintiffs are satisfied and support the

Settlement Agreement. ECF No. 27-1, at 27.


                              5.       Opinions of experienced counsel

       The “opinion of experienced counsel ‘should be afforded substantial consideration by a

court in evaluating the reasonableness of a proposed settlement.’” Stephens, 329 F.R.D. at 488-89

(quoting Cohen, 522 F. Supp. 2d at 121). Class counsel, who have extensive experience litigating

wage-and-hour lawsuits, ECF No. 27-1, at 20, concluded that the Settlement Agreement “is fair,

reasonable, and adequate” after carefully “analyz[ing] Defendants[’] potential liability and the




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exposure caused by the alleged wage violations.” ECF No. 27-4 ¶¶ 22, 24. In sum, they believe

that adopting the proposed agreement “is in the best interests of the class.” Id. ¶ 24.

                                             *      *       *

        For these reasons, the court preliminarily approves the Settlement Agreement.


                              C.      Notice and Further Proceedings

        Under Rule 23(e)(1)(B), the court “must direct notice . . . to all class members who would

be bound by the proposal” in a way that is “reasonably calculated . . . to apprise interested parties

of the pendency of the action and afford them an opportunity to present their objections.” Stephens,

329 F.R.D. at 490 (second alteration in original) (first quoting Fed. R. Civ. P. 23(e)(1)(B), then

quoting Brown v. Wells Fargo Bank, N.A., 869 F. Supp. 2d 51, 64 (D.D.C. 2012)).

        The proposed Notice combines the required information under Rule 23(e) with the notice

requirements of Rule 23(c).4 It provides the class members with all the relevant information

related to this proceeding. It explains the background and context of the lawsuit, ECF No. 27-5,

at 1, the members’ rights, id. at 2, the total amount of the settlement, id., the fund distribution

process, id., the scope of the release of liability, id. at 3, the steps necessary to object or opt out of

the class, id. at 3-4, and the time of the final fairness hearing to approve the Settlement Agreement,

id. at 4. The court finds that the proposed Notice, ECF No. 27-5, satisfies Rule 23(c) and (e).


                                       VI.       CONCLUSION

        For the foregoing reasons, it is hereby:

        ORDERED that the parties’ Joint Motion to Certify Class and for Preliminary Approval

of Settlement, ECF No. 27, is GRANTED;


4
  Rule 23(c) concerns notice procedures for certified classes apart from those for settlement
agreements. Fed. R. Civ. P. 23(c)(2).


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        ORDERED that the class defined in paragraph 8 of the Settlement Agreement, ECF

No. 27-2, is provisionally certified for settlement purposes;

        ORDERED that the terms of the Settlement Agreement, including all of its provisions,

definitions, and procedures, are hereby preliminarily approved, subject to further consideration at

the final fairness hearing;

        ORDERED that the named Plaintiffs, Blanca Castillo De Martinez, Vilma Somoza De

Cienfuegos, Richard Cienfuegos, and Armida Garcia, are approved as the class representatives for

the settlement class;

        ORDERED that Michael K. Amster, Esq. and Thomas J. Eiler, Esq. of the law firm Zipin,

Amster & Greenberg, LLC are approved as class counsel;

        ORDERED that ILYM Group, Inc. is approved as the Settlement Administrator;

        ORDERED that the proposed Notice, ECF No. 27-5, attached as Exhibit A below, and the

proposed manner of disseminating said Notice, are approved. Once the Notice has been disseminated

to class members, such distribution shall constitute sufficient notice of the proposed Settlement

Agreement and fairness hearing under Federal Rule of Civil Procedure 23;

        ORDERED that, within fifteen days of the entry of this Memorandum Opinion and Order,

the Settlement Administrator shall prepare final versions of the Notice and disseminate them to

the class;

        ORDERED that any class member wishing to be excluded from the settlement class shall

mail a written request for exclusion to the Settlement Administrator that must be postmarked by

sixty days after the Notice form’s postmark date;

        ORDERED that all class members who do not submit a timely request for exclusion shall

be bound by all determinations, orders, and judgments in this action;




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        ORDERED that any class member that wishes to object to the Settlement Agreement may

file their written objection with this court on or before sixty days after the Notice form’s postmark

date;

        ORDERED that the parties shall meet and confer on mutually agreeable dates and times on

or after May 19, 2025 for a final fairness hearing and communicate those times to the Courtroom

Deputy Clerk, Ms. Margaret Pham (Margaret_Pham@dcd.uscourts.gov), by March 3, 2025.

        ORDERED that this Memorandum Opinion and Order may be modified by the court upon

motion by either party, for good cause.

        SO ORDERED.




                                                      LOREN L. ALIKHAN
                                                      United States District Judge

Date: February 14, 2025




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                          Exhibit A
               Notice of Proposed Class Action Settlement
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WHAT ARE MY RIGHTS AT THIS POINT?: You can choose to:

        I.      EXCLUDE YOURSELF: You may choose to receive no payment according to the
                terms of the Settlement Agreement and retain your right to sue Defendants on your
                own and at your own expense about the same claims that Named Plaintiffs allege
                in this class action. To do so, you must take steps now to get out of the class. To do
                so, you must contact the Settlement Administrator, ILYM Group, at XXX within
                the SIXTY (60) DAYS from the date this Notice was mailed. Any request for
                exclusion must be received by the Settlement Administrator on or before the sixtieth
                day from the date of mailing of this Notice Form.

        II.     OBJECT: You may choose to write to the Court about why you believe the
                settlement is unfair or unreasonable. If you choose to object to the terms of the
                Settlement Agreement, you must do so within SIXTY (60) DAYS from the date
                this Notice was mailed. If the Court rejects your objection, you will still be bound
                by the terms of the settlement. If you object you may appear at the Fairness Hearing
                to speak to the Court about the fairness of the settlement.

        III.    DO NOTHING: You may choose to do nothing and await the Final Approval of
                this Settlement Agreement. After the Final Approval of the Settlement Agreement,
                a check will be issued in your name to arrive at the address you received this Notice.
                You will have ONE HUNDRED AND TWENTY (120) DAYS to cash this check
                from the post-date of the mailing of the check.

WHY IS THERE A SETTLEMENT?: The Court did not issue a final judgement in favor of
Named Plaintiffs or Defendants. To avoid the burden, expense, inconvenience, and uncertainty of
continued litigation, the parties have concluded that it is in their best interests to resolve and settle
the action by entering into a settlement agreement. Accordingly, Named Plaintiffs and Defendants
have settled. Defendants have agreed to provide $250,000.00 to resolve the case. This amount will
be allocated as follows: (1) $113,000.00 will be paid to Putative Class Members (i.e., you); (2)
$137,000.00 will be paid to Zipin, Amster & Greenberg, LLC (i.e., your attorneys); and (3)
$20,000.00 of the $113,000.00 will be allocated to the Named Plaintiffs as a Service Award of
$5,000.00 each for filing this action and serving as class representative. Both sides believe they
would have prevailed in the case, but there was no final decision ruling in favor of either party.
Instead, both sides agreed to a settlement. That way, they avoid the cost of a trial, and the people
affected will get compensation. The Named Plaintiffs and the attorneys think the settlement is best
for all Putative Class Members.

WHAT AM I ENTITLED TO?: You are entitled to two (2) checks from Defendants in this matter.
One check will be made out in the amount of $XXX subject to applicable W-2 tax withholdings.
Another check will be made out in the amount of $XXX subject to IRS Form 1099 reporting.



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WHAT AM I GIVING UP TO RECEIVE PAYMENT?: If the Court grants final approval of
settlement, these claims will be dismissed with prejudice and Putative Class Members (i.e., you)
who do not opt out will fully release and discharge Defendants from January 1, 2021 through
March 3, 2024 from all state and federal law wage and hour claims asserted, or which could have
been asserted, in this action. This means that you cannot sue, continue to sue, or be party to any
other lawsuit against Defendants regarding the Rule 23 class or federal claims brought in this case.

The Release in the Settlement Agreement provides that:

               Upon Final Approval by the Court of the Settlement, the Settlement
               Class Members who do not submit Requests for Exclusion within
               sixty (60) days of the post-date of the Notice Form shall fully
               discharge Releasees from any and all known or unknown claims,
               debts, penalties, liabilities, demands, obligations, guarantees, costs,
               expenses, attorneys’ fees, damages, interests, and causes of action of
               whatever kind or nature relating in any way to the failure to properly
               compute wages during the Class Period or to the facts and claims
               that were alleged or that reasonably arise out of the acts alleged in
               the Lawsuit, which includes all claims for uncompensated time,
               minimum wages, overtime wages, or any other wages, including,
               but not limited to, claims arising under the FLSA, state and/or local
               statutes or ordinances governing minimum wages, overtime wages,
               and payment of wages, wage notices, state common law (breach of
               contract, unjust enrichment and other common law claims), and any
               other federal, state, or local law, rule, regulation, ordinance, or
               public policy. The release includes claims under the DCWMA, the
               DCWPCL, and the FLSA. The release encompasses any claims,
               damages, costs, fees, or expenses that are derivative of the claims
               being released.

DO I HAVE A LAWYER IN THIS CASE?: The Court has decided that the lawyers at the law
firm of Zipin, Amster & Greenberg, LLC are qualified to represent you and all Putative Class
Members. These lawyers are called “Class Counsel”. If the settlement is approved, Class Counsel
will be paid $137,000.00 from the Gross Settlement Fund to cover their hourly attorneys’ fees and
costs. You will not pay any amount from your recovery for these lawyers. You do not need to retain
your own attorney to be able to participate as a Class Member. If you do not request to be excluded
and want to be represented by your own lawyer, you may hire one at your own expense.

HOW DO I EXCLUDE MYSELF FROM THE SETTLEMENT?: If you do not want a
payment from the settlement, and you want to keep the right to sue or continue to sue Defendants,
on your own about the legal issues in this case or which could have been brought in this case, then
you must take steps to exclude yourself from this case. If you intend to exclude yourself, you must
mail a written, signed statement to the Settlement Administrator, ILYM Group, Inc., at XXX within
SIXTY (60) DAYS from the date this Notice was mailed.

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HOW DO I OBJECT?: You can object by filing an objection with the United States District
Court for the District of Columbia by and through your own attorney or by yourself within SIXTY
(60) DAYS from the date this Notice was mailed. You may also provide the Settlement
Administrator ILYM Group, at XXX with a copy of your written objection to be filed with the
Court. If you intend to object to the terms of the settlement, you must remain in the class. In other
words, you cannot request to be excluded from the class and object to the Settlement Agreement.
You must state all the reasons for your objections in your correspondence.
WHAT IS A FAIRNESS HEARING?: The Court will hold a Fairness Hearing on XXX at the
United States District Court for the District of Columbia, 333 Constitution Avenue, NW,
Washington, DC 20001 in Courtroom XXX. At this hearing, the Court will consider whether the
settlement is fair, reasonable, and adequate. If there are objections, the Court will consider them.
The Court will listen to people who have been asked to speak at the hearing. The Court may also
decide how much to pay Class Counsel. After the hearing, the Court will decide whether to approve
the settlement, including the payment of fees and expenses to Class Counsel. We do not know how
long these decisions will take. ONE HUNDRED AND TWENTY (120) DAYS from the date that
the final approval of the settlement is made and the thirty (30) day period for appeals of the final
approval has elapsed or any applicable appeal has been resolved, the checks described herein shall
be mailed to you.
Your attendance at the Fairness Hearing is not required, but you are welcome to come at your own
expense. If you send an objection, you do not have to come to Court to talk about it. As long as the
objection is timely filed, the Court will consider it. You may also pay your own attorney to attend,
but it is not necessary.
If you file a timely objection, you may ask the Court for permission to speak at the Fairness
Hearing. You must include the words “I intend to appear at the Fairness Hearing” in your written
and filed objection. Your testimony at the Fairness Hearing will be limited to those reasons that
are included in your written objection. You cannot speak at the hearing if you exclude yourself
from the settlement.
WHAT IF I HAVE OTHER QUESTIONS?: This Notice is only a summary. If you have
additional questions, please call Class Counsel:
                                     Michael K. Amster, Esq.
                                        Thomas Eiler, Esq.
                                 Zipin, Amster & Greenberg, LLC
                                 8757 Georgia Avenue, Suite 400
                                     Silver Spring, MD 20910
                                          (301) 587-9373

PLEASE DO NOT CONTACT THE COURT REGARDING THE SETTLEMENT. THE
COURT MUST REMAIN NEUTRAL IN THIS MATTER AND CANNOT OFFER YOU
ADVICE.




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